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                                1   BUCHALTER
                                    A Professional Corporation
                                2   KEVIN T. COLLINS (SBN: 185427)
                                    ADAM SMITH (SBN: 322035)
                                3   NATALIYA SHTEVNINA (SBN: 339094)
                                    500 Capitol Mall, Suite 1900
                                4   Sacramento, CA 95814
                                    Telephone: 916.945.5170
                                5   Email: kcollins@buchalter.com
                                           apsmith@buchalter.com
                                6          nshtevnina@buchalter.com

                                7   Attorneys for Defendants
                                    Ned Anderson (individually and as trustee of the Ned Kirby Anderson Trust), Neil Anderson,
                                8   Glenn Anderson, Janet Blegen (individually and as trustee of the Janet Elizabeth Blegen Separate
                                    Property Trust), Robert Anderson (individually and as trustee of the Robert Todd Anderson
                                9   Living Trust), Stan Anderson, Lynne Mahre, Sharon Totman, Amber Bauman and Christopher
                                    Wycoff
                           10

                           11       C. Matthew Gaebe, SBN 263240                     HOGE, FENTON, JONES & APPEL, INC.
                                    Thomas E. Hornburg, SBN201324                    STEVEN J. KAHN
                           12       William N. Hannah, SBN 293121                    ALEXANDER H. RAMON
                                    HOUK & HORNBURG, INC.                            6801 Koll Center Parkway, Suite 210
                           13       206 S. Mooney Blvd.                              Pleasanton, CA 94566
                                    Visalia, California 93291                        Telephone: (925) 224-7780
                           14       Telephone: 559/733-1065                          steven.kahn@hogefenton.com
                                    Facsimile: 559/733-7226                          alex.ramon@hogefenton.com
                           15
                                    Attorneys for Defendant Richard Anderson,        Attorneys for Defendant
                           16       (Individually and as Trustee of the REA          Ronald Gurule (individually and as trustee of
                                    Properties Trust)                                the Ronald Gurule 2013 Family Trust)
                           17
                                                                                     DAVIS WRIGHT TREMAINE LLP
                           18                                                        ALLISON A. DAVIS
                                                                                     SANJAY M. NANGIA
                           19                                                        50 California Street, 23rd Floor
                                                                                     San Francisco, CA 94111
                           20                                                        Telephone: (415) 276-6500
                                                                                     allisondavis@dwt.com
                           21                                                        sanjaynangia@dwt.com

                           22                                                        Attorneys for Defendant
                                                                                     William C. Dietrich
                           23                                                        (individually and as trustee of the Child’s Trust
                                                                                     FBO William C. Dietrich, a subtrust under the
                           24                                                        Trust of William C. Dietrich and Ivanna S.
                                                                                     Dietrich)
                           25

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      BUCHALTER
                                    BN 79644119v1                  1
A PROFES SION AL CORPORAT ION          DECLARATION OF NATALIYA SHTEVNINA REQUESTING IN PERSON ORAL
        SACR AMENTO
                                         ARGUMENT IN SUPPORT OF DEFENDANTS’ AMENDED MOTION FOR
                                                            PROTECTIVE ORDER
                                    Case 2:23-cv-00927-TLN-AC Document 91-1 Filed 11/22/23 Page 2 of 5


                                1   RIMON, P.C.                                    ROPERS MAJESKI PC
                                    GABRIEL G. GREGG (SBN 187333)                  MICHAEL J. IOANNOU (SBN: 95208)
                                2   gabriel.gregg@rimonlaw.com                     DAVID B. DRAPER (SBN: 107790)
                                    800 Oak Grove Avenue, Suite 250                KEVIN W. ISAACSON (SBN: 281067)
                                3   Menlo Park, California 94025                   333 West Santa Clara St., Suite 910
                                    Telephone: 650.461.4433                        San Jose CA 95113
                                4   Facsimile: 650.461.4433                        Telephone: (650) 814 5987
                                                                                   david.draper@ropers.com
                                5   Attorneys for the                              Attorneys for Defendants
                                    MAHONEY DEFENDANTS                             Paul Dietrich (individually and as trustee of the
                                6                                                  Child’s Trust FBO Paul S. Dietrich, a subtrust
                                                                                   under the Trust of William C. Dietrich and
                                7                                                  Ivanna S. Dietrich; John Alsop (individually
                                                                                   and as trustee of the John G. Alsop Living
                                8                                                  Trust), Nancy Roberts (individually and as
                                                                                   trustee of the Nancy C. Roberts Living Trust),
                                9                                                  Janet Zanardi (individually and as trustee of
                                                                                   Trust A under the Zanardi Revocable Trust)
                           10       GLYNN, FINLEY, MORTL,
                                    HANLON & FRIEDENBERG, LLP
                           11       CLEMENT L. GLYNN, Bar No. 57117
                                    cglynn@glynnfinley.com
                           12       ADAM FRIEDENBERG, Bar No. 205778
                                    afriedenberg@glynnfinley.com
                           13       ROBERT C. PHELPS, Bar No. 106666
                                    bphelps@glynnfinley.com
                           14       MORGAN K. LOPEZ, Bar No. 215513
                                    mlopez@glynnfinley.com
                           15       One Walnut Creek Center
                                    100 Pringle Avenue, Suite 500
                           16       Walnut Creek, CA 94596
                                    Telephone: (925) 210-2800
                           17       Facsimile: (925) 945-1975
                           18       Attorneys for Defendants Ian Anderson
                                    (Individually and as Trustee of the Ian and
                           19       Margaret Anderson Family Trust), Margaret
                                    Anderson (Individually and as Trustee of the
                           20       Ian
                                    and Margaret Anderson Family Trust), Neil
                           21       Anderson, and Maryn Anderson
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      BUCHALTER
                                    BN 79644119v1                      2
A PROFES SION AL CORPORAT ION             DECLARATION OF NATALIYA SHTEVNINA REQUESTING IN PERSON ORAL
        SACR AMENTO
                                          ARGUMENT IN SUPPORT OF DEFENDANTS’ JOINT AMENDED MOTION FOR
                                                               PROTECTIVE ORDER
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                                1                                UNITED STATES DISTRICT COURT
                                2                            EASTERN DISTRICT OF CALIFORNIA
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                                4
                                    FLANNERY ASSOCIATES LLC,                    Case No. 2:23-CV-00927-TLN-AC
                                5
                                                    Plaintiff,                  DECLARATION OF NATALIYA
                                6                                               SHTEVNINA REQUESTING IN
                                           vs.                                  PERSON ORAL ARGUMENT IN
                                7                                               SUPPORT OF DEFENDANTS’ JOINT
                                    BARNES FAMILY RANCH ASSOCIATES,             AMENDED MOTION FOR
                                8   LLC, LAMBIE RANCH ASSOCIATES, LLC,          PROTECTIVE ORDER PURSUANT TO
                                    KIRBY HILL ASSOCIATES, LLC, BARNES          FED. R. CIV. P. 26
                                9   FAMILY RANCH CORPORATION, LAMBIE
                                    RANCH CORPORATION, KIRBY HILL
                           10       CORPORATION, KIRK BEEBE, SUSAN              Date:         December 20, 2023
                                    BEEBE FURAY, MURRAY BANKHEAD                Time:         10 a.m.
                           11       (INDIVIDUALLY AND AS TRUSTEE FOR            Dept.:        Courtroom 26, 8th Floor
                                    THE BAUMBACH FAMILY TRUST),                 Before:       Hon. Allison Claire
                           12       MICHAEL RICE (INDIVIDUALLY AND AS
                                    TRUSTEE FOR THE RICE FAMILY TRUST);         Trial Date:   None Set
                           13       CHRISTINE MAHONEY LIMITED
                                    PARTNERSHIP, CHRISTINE MAHONEY
                           14       LIMITED PARTNERSHIP MANAGEMENT
                                    COMPANY, EMIGH LAND LP, EL
                           15       GENERAL PARTNER, LLC, CHRISTINE
                                    MAHONEY (INDIVIDUALLY AND AS
                           16       TRUSTEE OF THE MAHONEY 2005
                                    FAMILY TRUST), DANIEL MAHONEY
                           17       (INDIVIDUALLY AND AS TRUSTEE OF
                                    THE MAHONEY 2005 FAMILY TRUST);
                           18       IAN ANDERSON (INDIVIDUALLY AND AS
                                    TRUSTEE OF THE IAN AND MARGARET
                           19       ANDERSON FAMILY TRUST), MARGARET
                                    ANDERSON (INDIVIDUALLY AND AS
                           20       TRUSTEE OF THE IAN AND MARGARET
                                    ANDERSON FAMILY TRUST), NEIL
                           21       ANDERSON, MARYN ANDERSON,
                                    WILLIAM DIETRICH (INDIVIDUALLY
                           22       AND AS TRUSTEE OF THE CHILD’S
                                    TRUST FBO WILLIAM C. DIETRICH, A
                           23       SUBTRUST UNDER THE TRUST OF
                                    WILLIAM C. DIETRICH AND IVANNA S.
                           24       DIETRICH), PAUL DIETRICH
                                    (INDIVIDUALLY AND AS TRUSTEE OF
                           25       THE CHILD’S TRUST FBO PAUL S.
                                    DIETRICH, A SUBTRUST UNDER THE
                           26       TRUST OF WILLIAM C. DIETRICH AND
                                    IVANNA S. DIETRICH), JOHN ALSOP
                           27       (INDIVIDUALLY AND AS TRUSTEE OF
                                    THE JOHN G. ALSOP LIVING TRUST),
                           28
      BUCHALTER
                                    BN 79644119v1                   3
A PROFES SION AL CORPORAT ION          DECLARATION OF NATALIYA SHTEVNINA REQUESTING IN PERSON ORAL
        SACR AMENTO
                                       ARGUMENT IN SUPPORT OF DEFENDANTS’ JOINT AMENDED MOTION FOR
                                                            PROTECTIVE ORDER
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                                1   NANCY ROBERTS (INDIVIDUALLY AND
                                    AS TRUSTEE OF THE NANCY C. ROBERTS
                                2   LIVING TRUST), JANET ZANARDI
                                    (INDIVIDUALLY AND AS TRUSTEE OF
                                3   TRUST A UNDER THE ZANARDI
                                    REVOCABLE TRUST), RONALD GURULE
                                4   (INDIVIDUALLY AND AS TRUSTEE OF
                                    THE RONALD GURULE 2013 FAMILY
                                5   TRUST), RICHARD ANDERSON
                                    (INDIVIDUALLY AND AS TRUSTEE OF
                                6   THE REA PROPERTIES TRUST), DAVID
                                    ANDERSON (INDIVIDUALLY AND AS
                                7   TRUSTEE OF THE IRWIN E. ANDERSON
                                    SURVIVOR’S TRUST), DEBORAH
                                8   WORKMAN (INDIVIDUALLY AND AS
                                    TRUSTEE OF THE IRWIN E. ANDERSON
                                9   SURVIVOR’S TRUST), CAROL HOFFMAN
                                    (INDIVIDUALLY AND AS TRUSTEE OF
                           10       THE IRWIN E. ANDERSON SURVIVOR’S
                                    TRUST), NED ANDERSON
                           11       (INDIVIDUALLY AND AS TRUSTEE OF
                                    THE NED KIRBY ANDERSON TRUST),
                           12       NEIL ANDERSON, GLENN ANDERSON,
                                    JANET BLEGEN (INDIVIDUALLY AND AS
                           13       TRUSTEE OF THE JANET ELIZABETH
                                    BLEGEN SEPARATE PROPERTY TRUST),
                           14       ROBERT ANDERSON (INDIVIDUALLY
                                    AND AS TRUSTEE OF THE ROBERT TODD
                           15       ANDERSON LIVING TRUST), STAN
                                    ANDERSON, LYNNE MAHRE, SHARON
                           16       TOTMAN, AMBER BAUMAN,
                                    CHRISTOPHER WYCOFF;
                           17       AND JOHN DOES 1-50,
                           18                       Defendants.
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      BUCHALTER
                                    BN 79644119v1                   4
A PROFES SION AL CORPORAT ION          DECLARATION OF NATALIYA SHTEVNINA REQUESTING IN PERSON ORAL
        SACR AMENTO
                                       ARGUMENT IN SUPPORT OF DEFENDANTS’ JOINT AMENDED MOTION FOR
                                                            PROTECTIVE ORDER
                                    Case 2:23-cv-00927-TLN-AC Document 91-1 Filed 11/22/23 Page 5 of 5


                                1                            DECLARATION OF NATALIYA SHTEVNINA
                                2           I, NATALIA SHTEVNINA, declare as follows:

                                3           1.      I am making this Declaration based upon my personal knowledge and state

                                4   affirmatively, that if called as a witness, I can testify competently to the facts set forth herein. I

                                5   am over 18 years of age.

                                6           2.      I am an attorney at law licensed to practice before all of the courts of the State of

                                7   California. I am an Associate with Buchalter, A Professional Corporation and counsel of record

                                8   for Defendants Ned Anderson (individually and as trustee of the Ned Kirby Anderson Trust), Neil

                                9   Anderson, Glenn Anderson, Janet Blegen (individually and as trustee of the Janet Elizabeth

                           10       Blegen Separate Property Trust), Robert Anderson (individually and as trustee of the Robert Todd

                           11       Anderson Living Trust), Stan Anderson, Lynne Mahre, Sharon Totman, Amber Bauman and

                           12       Christopher Wycoff.

                           13               3.      I graduated University of Pacific, McGeorge School of Law in May 2021. I was

                           14       admitted into the State Bar of California on November 16, 2021. I have been out of law school for

                           15       fewer than four years.

                           16               4.      I submit this declaration to request in person oral argument as allowed by the

                           17       Court’s Standing Orders in support of Defendants’ Joint Amended Motion for Protective Order

                           18       Pursuant to Fed. R. Civ. P. 26 and Request for Informal Telephonic Discovery Conference

                           19       (“Motion”). I will be arguing the Motion at the hearing on December 20, 2023.

                           20               I declare under penalty of perjury under the laws of the State of California that the

                           21       foregoing is true and correct and that this declaration was executed on November 21, 2023, at

                           22       Sacramento, California.

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                                                                                                    NATALIYA SHTEVNINA
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      BUCHALTER
                                    BN 79644119v1                   5
A PROFES SION AL CORPORAT ION          DECLARATION OF NATALIYA SHTEVNINA REQUESTING IN PERSON ORAL
        SACR AMENTO
                                       ARGUMENT IN SUPPORT OF DEFENDANTS’ JOINT AMENDED MOTION FOR
                                                            PROTECTIVE ORDER
